Case 1:24-cv-01778-PTG-WBP Document 109 Filed 10/24/24 Page 1 of 2 PageID# 1316




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division


   VIRGINIA COALITION FOR                           )
      IMMIGRANT RIGHTS, et al.,                     )
                                                    )
                  Plaintiffs,                       )
                                                    )
          V.                                        )    Civil Action No. l:24-cv-1778 (PTG/WBP)
                                                    )
   SUSAN BEALS,                                     )
   in her official capacity as Virginia             )
       Commissioner of Elections, et al.            )
                                                    )
                  Defendants.                       )

                                                 ieifk




   UNITED STATES OF AMERICA,                        )
                                                    )
                  Plaintif,f                        )
                                                    )
          V.                                        )    Civil Action No. l:24-cv-1807 (PTG/WBP)
                                                    )
   COMMONWEALTH OF VIRGINIA, et al.,                )
                                                    )
                  Defendants.                       )
                                                    )


                                               ORDER


         This matter is before the Court on the Public Interest Legal Foundation, Inc.’s Motion for

  Leave to File Amicus Curiae Brief (Dkt. 93).

         “The district court maintains wide latitude to ... grant or deny a motion to file an amicus

  brief.” Sierra Club v. Va. Elec. & Power Co., No. 2:15-cv-l 12, 2016 WL 5349081, at *2 (E.D.

  Va. Feb. 4,2016). “Courts generally permit amicus briefs only where the brief could ‘provide

  helpful analysis of the law,’ and the proposed amicus has ‘a special interest in the subject matter
Case 1:24-cv-01778-PTG-WBP Document 109 Filed 10/24/24 Page 2 of 2 PageID# 1317




  of the suit, or existing counsel is in need of assistance.’” Id (quoting Tafas v. Dudas, 511 1-.

  Supp. 2d 652, 659 (E.D. Va. 2007)).

         As “[fjhe issues presented on [the motions for preliminary injunction! have been

  thoroughly and fully briefed,” the Court will deny the Public Interest Legal foundation, Inc. s

  Motion for Leave to File Amicus Curiae Brief (Dkt. 93). Id. at *3 (denying motion for leave to

  file an amicus brief).

         Accordingly, it is hereby

         ORDERED that the Public Interest Legal Foundation, Inc.’s Motion for Leave to File

  Amicus Curiae Brief (Dkt. 93) is DENIED.




  Entered this ^/day of October. 2024

  Alexandria, Virginia                                        "Patricia Tolliver Giles
                                                              United States District Judge




                                                    9
